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                 EXHIBIT A
          Case 6:20-cv-00160-ADA Document 1-1 Filed 02/28/20 Page 2 of 27
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                                                                                           US00983 8962B2


c12)   United States Patent                                            (10)   Patent No.:              US 9,838,962 B2
       Tsividis                                                        (45)   Date of Patent:                   Dec. 5, 2017

(54)   POWER DISSIPATION REDUCTION IN                             (56)                      References Cited
       WIRELESS TRANSCEIVERS
                                                                                  U.S. PATENT DOCUMENTS
(71)   Applicant: Theta IP, LLC, Coppell, TX (US)
                                                                         3,408,587 A   *    10/1968 Lancaster        H03G 1/0052
                                                                                                                         330/129
(72)   Inventor:    Yannis Tsividis, New York, NY (US)                   4,270,222 A         5/1981 Menant
                                                                                              (Continued)
(73)   Assignee: Theta IP, LLC, Coppell, TX (US)
                                                                               FOREIGN PATENT DOCUMENTS
( *)   Notice:      Subject to any disclaimer, the term of this
                    patent is extended or adjusted under 35       DE              10026152            212001
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                                                                                              (Continued)
(21)   Appl. No.: 15/080,421
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(22)   Filed:       Mar. 24, 2016
                                                                  US 6,529,069, 03/2003, Krishnapura et a!. (withdrawn)
(65)                  Prior Publication Data
                                                                                              (Continued)
       US 2016/0212700 Al           Jul. 21, 2016
                                                                  Primary Examiner- Quochien B Vuong
                Related U.S. Application Data                     (74) Attorney, Agent, or Firm- Blakely Sokoloff Taylor
                                                                  & Zafman LLP
(63)   Continuation of application No. 11/318,646, filed on
       Dec. 27, 2005, now Pat. No. 9,331,728, which is a          (57)                       ABSTRACT
                        (Continued)                               Processes, methods and circuits for improving battery life by
                                                                  reducing the battery power-drain ofbattery-powered devices
(51)   Int. Cl.                                                   with wireless receivers is disclosed. Embodiments provide
       H04B 1138               (2015.01)                          for variably changing the bias current, impedance, and gain
       H04M 1100               (2006.01)                          through a plurality of values, either separately or in combi-
                         (Continued)                              nation, during receiver circuit operation to optimize power
(52)   U.S. Cl.                                                   dissipation. The dynamic changes to gain, bias and imped-
       CPC ........ H04W 5210209 (2013.01); H04B 11109            ance characteristics of the receiver circuit may occur in any
                          (2013.01); Y02B 60/50 (2013.01)         of an amplifier, a filter, and a mixer, and are responsive to the
                                                                  components of an input signal comprising a desired signal
(58)   Field of Classification Search
                                                                  and interferer signal. Dynamic changes may also be made to
       CPC ... H04B 1/04; H04B 1/16; H04B 1/40; H04B              a dynamic range and noise floor of the receiver circuit.
                       1/109; H04B 1/0475; H04B 1/1607;
                        (Continued)                                              6 Claims, 15 Drawing Sheets
           Case 6:20-cv-00160-ADA Document 1-1 Filed 02/28/20 Page 3 of 27


                                                      US 9,838,962 B2
                                                             Page 2


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                         INTERFACE
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                I                    164

                                                                 Tx_1
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                PAD_CTRL     TX_GC                 FIG. 1
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                   FIG. 2A                                                      FIG. 28
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    Case 6:20-cv-00160-ADA Document 1-1 Filed 02/28/20 Page 11 of 27


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                                    IMPEDANCE CONTROL
                                        824                  820
                          810
            VIN
                            >----+~        FUNCTION 1-r---+VOUT
            812                             BLOCK        822
                                  814
                                                            826
                     GAIN
                   CONTROL               BIAS CONTROL

                  FIG. 8A
                                                  j   DESIRED        INTERFERER

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                                                        FREQUENCY---.

                                                                  FIG. 8C


                                        -AND/OR-




       FREQUENCY---+

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                                                       FREQUENCY--+

                                                      852          FIG. 80
        Case 6:20-cv-00160-ADA Document 1-1 Filed 02/28/20 Page 13 of 27


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                                         IMPEDANCE CONTROL
                                            924              920
                               910
               VIN
                                 >----.! FUNCTION h--+VOUT
               912                                BLOCK
                                                                   922
                                      914
                                                           926
                        GAIN CONTROL
                                             BIAS CONTROL



                                      FIG. 9A




         DESIRED                                         DESIRED
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            932
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              FIG. 98                                           FIG. 9C
    Case 6:20-cv-00160-ADA Document 1-1 Filed 02/28/20 Page 14 of 27


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                                   IMPEDANCE CONTROL
                                   1024                  1020
                        1010
           VIN                                                    VOUT
                                          FUNCTION
          1012                             BLOCK                1022
                                 1014
                                                     1026
                     GAIN
                   CONTROL              BIAS CONTROL



                                 FIG. 10A




                                                  DESIRED INTERFERERS


    i



                                                  1042

           FIG. 108                                      FIG. 10C
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                                      IMPEDANCE CONTROL
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            VIN
                                              FUNCTION 1-r--+VOUT
            1112                               BLOCK       1122
                                    1114
                                                        1126
                    GAIN CONTROL
                                           BIAS CONTROL

                                    FIG. 11A



                                      {1160
                                      -
                                  REDUCE
                                N BIASING
                                              .    t

                                                                            N


                                                                        1142
     1132
                   FIG. 118                       INTERMOD      FIG. 11 c
                                                  PRODUCTS
                            -AND/OR-




                                                   t
                                                                            N


                                                        FREQUENCY~

                                                       1152     FIG. 11 D
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                  (1210                                     (1220              ~
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          RECEIVED SIGNAL                      RESPONSE TO RECEIVED SIGNAL     =
                                                                               ~



                                                   INCREASE        INCREASE
        SIGNAL     INTERFERER      DECREASE       IMPEDANCE       IMPEDANCE    c
       STRENGTH     STRENGTH         SMAX           NOT GAIN       AND GAIN    ('D
                                                                               ~
                                                                               ~Ul
                                                                               N

  r
1230
        SMALL        SMALL             YES            NO              YES      ....
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                                                                               -....l




  r
1240
        LARGE        SMALL             NO             YES             NO
                                                                               rFJ
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                                                                               ('D

                                                                               .....
                                                                               ('D

                                                                               ....
  r
1250
        LARGE        LARGE             NO             YES             NO       N
                                                                               0
                                                                               .........
                                                                               Ul


  r
1260
        SMALL        LARGE             NO              NO             NO



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                                                                                rJl
                                                                               '"'..c
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                                   FIG. 12                                      w
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                                                GAIN                             .....
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      1460                                      CONTROL                          .j;o.

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                     1470       1472            CIRCUITS           1474          .........
                                                                                 Ul

                                         1480


             L_______~C~O~M~P~U~TA~J~IO~N~A~L~C~I~RC~U~I_T_,----~r---.DSP
                                                           1490

                                       FIG. 14
         Case 6:20-cv-00160-ADA Document 1-1 Filed 02/28/20 Page 19 of 27




                                                                                   e•
                                                                                   7J).
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                                                                                   ~
                                                                                   ~
                                                                                   ~
XMIT POWER                                                                         ~

LEVEL SET
             POWER                     POWER                     OUTPUT
                                                                                   =
                                                                                   ~



             CONTROL                   CONTROL    I•          I LEVEL
             CIRCUITS                  CIRCUITS                . SENSING
                                                                                   c
                                                                                   ('D

                         1530                      1540                     1550   ~
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                        1510                           1520                        ....
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         GAIN                                                                      rFJ

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    XMIT POWER_ J
                         GAIN
                         CONTROL
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     LEVEL SET ~         CIRCUITS
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                                 FIG. 15                                           w
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       POWER DISSIPATION REDUCTION IN                                  currents may start low and be increased in response to
          WIRELESS TRANSCEIVERS                                        worse-than-best-case conditions, or they may start at a point
                                                                       in between and vary up or down. These variations may be
          CROSS-REFERENCES TO RELATED                                  made to electronic systems generally, and are particularly
                  APPLICATIONS                                         suited and discussed below in the context of a wireless
                                                                       transceiver that may be used in networking devices, cellular
   This application is a continuation of U.S. patent applica-          telephones, and other wireless systems.
tion Ser. No. 11/318,646, filed Dec. 27, 2005, which is a                 An exemplary embodiment of the present invention pro-
continuation of U.S. patent application Ser. No. 10/784,613,           vides a method of receiving a signal using an integrated
filed Feb. 23, 2004, which claims the benefit of U.S.             10   circuit. The integrated circuit includes a signal path having
provisional application No. 60/451,229, filed Mar. 1, 2003,            a low-noise amplifier configured to receive the signal, a
which is incorporated by reference.                                    mixer having an input coupled to an output of the low-noise
   This application claims the benefit of U.S. provisional             amplifier, and a low-pass filter having an input coupled to an
application No. 60/451,230, filed Mar. 1, 2003, which is               output of the mixer. The method itself includes determining
incorporated by reference.                                        15   a first signal strength at a first node in the signal path in the
                                                                       integrated circuit and dynamically changing an impedance
                      BACKGROUND                                       of a component in the signal path based on the first signal
                                                                       strength.
   The present invention relates to power dissipation reduc-              A further exemplary embodiment of the present invention
tion techniques for electronic circuits, for example wireless     20   provides a method of receiving a signal using an integrated
transceiver integrated circuits.                                       circuit. The integrated circuit includes a signal path having
   Wireless networking is quickly becoming ubiquitous, as              a low-noise amplifier configured to receive the signal, a
desktop, notebook, and handheld computers are connected                mixer having an input coupled to an output of the low-noise
to share Internet access and files. Wireless networking cards          amplifier, and a low-pass filter having an input coupled to an
compatible with PCMCIA and compact flash form factors             25   output of the mixer. The method itself includes determining
are popular for laptops and handhelds respectively, particu-           a first signal strength at a first node in the signal path in the
larly as mobile users connect to the Internet on the road at           integrated circuit and dynamically changing a bias current in
coffee shops, hotels, and airports.                                    the signal path based on the first signal strength.
   A downside of this connectivity is a corresponding drain               Another exemplary embodiment of the present invention
on battery life, especially for these portable devices. The       30   provides a method of receiving a signal using an integrated
power consumed by a wireless transmitter and receiver                  circuit. The integrated circuit includes a signal path having
reduces the usefulness of a device and sends a user on a hunt          a first circuit and a second circuit having an input coupled to
for an electrical outlet for recharging.                               an output of the first circuit. The method itself includes
   One reason why this power drain is high is that electronic          determining a first signal strength at a first node in the signal
circuits are typically designed to function properly under        35   path in the integrated circuit. The first node is before the first
worst-case operating conditions. For a wireless transceiver,           circuit in the signal path. The method further includes
the worst case condition is when a desired signal reception            dynamically changing a gain of the first circuit based on the
strength is low, while other transceivers or nearby electronic         first signal strength and dynamically changing an impedance
equipment generate interfering signals and other spurious              of a component in the second circuit based on the first signal
nmse.                                                             40   strength.
   But a wireless transceiver does not always operate in                  Still a further exemplary embodiment of the present
these worst-case conditions. For example, a base station,              invention provides a wireless transceiver integrated circuit
router or access point may be nearby such that the received            including a receiver having a signal path, the signal path
signal is strong. Also, there may be no interfering signals, or        including a low-noise amplifier, a mixer having an input
they may be relatively weak. In these situations, receiver        45   coupled to an output of the low-noise amplifier, and a
circuit currents can be reduced below what is necessary for            low-pass filter having an input coupled to an output of the
the worst case condition. If this is done, power dissipation is        mixer, as well as a first signal strength indicator circuit
reduced, and battery life is increased.                                coupled to the signal path and configured to determine a first
   Thus, what is needed are circuits and methods that can              signal strength. An impedance in the signal path is config-
adapt to a better-than-worst-case condition and reduce cir-       50   ured to be dynamically adjusted in response to the first signal
cuit currents and therefore power dissipation accordingly.             strength.
                                                                          Yet a further exemplary embodiment of the present inven-
                        SUMMARY                                        tion provides a wireless transceiver integrated circuit. This
                                                                       integrated circuit includes a receiver comprising a signal
   Accordingly, embodiments of the present invention pro-         55   path, the signal path having a low-noise amplifier, a mixer
vide methods and circuits for reducing power dissipation in            having an input coupled to an output of the low-noise
wireless transceivers and other electronic circuits and sys-           amplifier, and a low-pass filter having an input coupled to an
tems. Embodiments of the present invention use bias current            output of the mixer, as well as a first signal strength indicator
reduction, impedance scaling, gain, and other dynamic                  circuit coupled to the signal path, and configured to deter-
changes either separately or in combination to reduce power       60   mine a first signal strength. A bias current in the signal path
dissipation in response to better-than-worst case conditions.          is configured to be dynamically adjusted in response to the
For example, bias currents are reduced in response to a need           first signal strength.
for reduced signal handling capability, impedances are                    Another exemplary embodiment of the present invention
scaled thus reducing required drive and other bias currents            provides a wireless transceiver integrated circuit. This cir-
in response to a strong received signal, or gain is varied and    65   cuit includes a receiver comprising a signal path, the signal
impedances are scaled in response to a low received signal             path having a first circuit; and a second circuit having an
in the presence of no or weak interfering signals. Alternately,        input coupled to an output of the first circuit; as well as a first
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signal strength indicator circuit coupled to the signal path,            is shown for illustrative purposes only and does not to limit
and configured to determine a first signal strength. A gain of           either the possible embodiments of the present invention or
the first circuit is configured to be dynamically adjusted in            the claims.
response to the first signal strength, and an impedance in the              There are three main portions of this transceiver circuit, a
second circuit is configured to be dynamically adjusted in               receiver, transmitter, and synthesizer. This transceiver may
response to the first signal strength.                                   be completely or partially integrated on a semiconductor
   A better understanding of the nature and advantages of the            chip, or it may be integrated onto multiple integrated cir-
present invention may be gained with reference to the                    cuits. In a specific embodiment, the circuitry bounded by
following detailed description and the accompanying draw-                dashed line 100 is integrated on a single chip coupled to one
                                                                    10   or more external components or circuits. The integrated
ings.
                                                                         circuit or circuits forming this wireless transceiver may
      BRIEF DESCRIPTION OF THE DRAWINGS                                  incorporate various integrated circuit devices such as a
                                                                         bipolar, CMOS, or BiCMOS devices made using a silicon,
                                                                         silicon-germanium (SiGe), gallium arsenide or other III-V
   FIG. 1 is a block diagram of a wireless transceiver that
                                                                    15   process, or other manufacturing process. Embodiments of
may benefit by incorporation of embodiments of the present
                                                                         the present invention may also be applicable to circuits
invention;                                                               manufactured using nanotechnology processing.
   FIGS. 2A and 2B illustrate examples of desired and                       The receiver includes a signal path formed by low-noise
interfering signals and noise that may be received by a                  amplifier 102, I and Q mixers 104 and 106, low pass filters
circuit in a wireless receiver;                                     20   108 and 110, and baseband amplifiers 114 and 116. Other
   FIG. 3 illustrates what can occur as a maximum signal                 circuitry in the receiver includes received strength indicator
handling capability is reduced in the worst-case signal                  122, automatic gain control circuit 166, baseband gain
condition;                                                               control circuit 120, tuning circuit 112, and offset cancella-
   FIG. 4 illustrates a portion of a receiver consistent with an         tion circuit 118.
embodiment of the present invention;                                25      The transmitter includes input up-converter mixers 124
   FIG. 5 illustrates the relationship between a required bias           and 126, summing node 176, which may be conceptual
current and a given output signal for a representative circuit;          rather than an actual circuit, transmit variable gain amplifier
   FIG. 6 is an example of how a circuit's impedances may                128, and power amplifier 130.
be scaled to reduce drive currents, and depending on the                    The synthesizer includes a voltage-controlled oscillator
circuit configuration used, to reduce associated bias currents      30   148, which drives I and Q buffers 154 and 152, prescaler
as well;                                                                 156, reference clock buffer 142 and divider 158, phase-
   FIG. 7 illustrates how gain may be inserted in a signal               frequency detector 160, charge pump 162, and loop filter
path to improve a circuit's signal to noise ratio;                       146, which in a specific embodiment is formed by external
   FIGS. 8A-8D illustrate some of the possible power saving              components.
techniques that may be used when received desired and               35       Signals are received on an antenna, not shown, and
interferer signals are all at a low power level;                         typically pass through an RF switch and bandpass filter
   FIGS. 9A-9C illustrate one of the possible power saving               before being received by the low-noise amplifier 102 on line
techniques that may be used when a received desired signal               101. The low noise amplifier gains the received signal and
is strong while all interfering signals are at a low power               provides it to quadrature mixers 104 and 106. I and Q mixers
level;                                                              40   104 and 106 down-convert the received signal to baseband
   FIGS. 10A-10C illustrate one of the possible power                    by multiplying them with quadrature versions of the oscil-
saving techniques that may be used when received desired                 lator signal provided by buffers 152 and 154. This down
and interferer signals are all at a high power level;                    conversion also produces a high frequency component at a
   FIGS. 11A-11D illustrate one of the possible power                    frequency that is equal to the sum of the frequencies of the
saving techniques that may be used when a received desired          45   received signal and the VCO. This unwanted signal is
signal is weak while one or more interfering signals are                 filtered by low pass filters 108 and 110, which in turn drive
strong;                                                                  baseband amplifiers 114 and 116. The outputs of baseband
   FIG. 12 is a summary illustrating four different input                amplifiers 114 and 116 are typically converted to digital
conditions and some of the appropriate power-saving                      signals by analog-to-digital converters at the front end of a
changes that may be made in response to those conditions;           50   digital signal processing block.
   FIG. 13 shows how power may be saved as a function of                    In the transmit mode, I and Q versions of the signal to be
time by employing one or more of the power saving methods                transmitted are provided on lines 121 and 123 to up-convert
consistent with embodiments of the present invention;                    mixers 124 and 126. These up-convert mixers multiply the
   FIG. 14 is a block diagram of a portion of a receiver                 I and Q portions of the transmit signal by quadrature
consistent with an embodiment of the present invention; and         55   versions of the VCO signal provided by buffers 152 and 154.
   FIG. 15 is a block diagram of a portion of a transmitter              The outputs of the up-convert mixers 124 and 126 are
consistent with an embodiment of the present invention.                  sUlllilled, and amplified by transmit VGA 128, which in tum
                                                                         drives power amplifier 130. The output of power amplifier
            DESCRIPTION OF EXEMPLARY                                     130 is typically filtered, and passes through the RF switch to
                  EMBODIMENTS                                       60   the antenna for transmission.
                                                                            A reference clock is received and buffered by the refer-
   FIG. 1 is a block diagram of a wireless transceiver that              ence buffer 142. The VCO generates quadrature oscillatory
may benefit by incorporation of embodiments of the present               signals that are divided by prescaler 156. The reference
invention. This wireless transceiver may be designed to send             clock is typically generated by a crystal or other stable
and receive signals consistent with the IEEE 802.11a,               65   periodic clock source. The phase-frequency detector 116
802.11b, 802.11g, or other signaling standard or combina-                compares the phase or frequency (depending on whether the
tion of standards. This figure, as with all the included figures,        synthesizer is tracking or acquiring the correct frequency) of
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the divided VCO signal and the reference clock, or a divided          density integrated over the bandwidth of interest. For sim-
version of the reference clock, and generates an error signal,        plicity and comparison, this level is shown as a horizontal
which drives the charge pump 162. The output signal of the            line, and is not meant to imply noise density.
charge pump 162 is filtered by the loop filter 146, which is              Often in wireless receivers, a circuit at different times will
commonly a lead-lag filter, and which provides a tuning or            receive an input spectrum similar to those shown in FIGS.
correction signal to the VCO 148.                                     2A and 2B. The input spectrum of FIG. 2B is generally
   Embodiments of the present invention may be used to                considered the worst-case input signal, and typical design
reduce the power dissipation of one or more of these                  methodology involves designing a receiver for this condi-
included circuits. For example, the power dissipation in the          tion, specifically the weakest desired signal accompanied by
low-noise amplifier 102, down-convert mixers 104 and 106,        10   largest interference level. Circuit impedances and currents
low pass filters 108 and 110, or baseband amplifiers 114 and          are set such that the noise floor 264 is sufficiently low for an
116 may be optimized. Also, power dissipation in up-convert           acceptable bit-error rate, while bias currents are set suffi-
mixers 124 126, variable gain amplifier 128, and power                ciently high for the required Smax 262.
amplifier 130 may also be optimized. Similarly, VCO 148                   Conversely, the input spectrum in FIG. 2A is that of the
and prescaler 156 currents may be adjusted. Embodiments          15   best-case input signal, specifically, a robust desired signal
of the present invention may also be applied in other circuits        accompanied by no or low-level interferers. In this case, the
which may be included in other integrated circuit receivers,          noise floor 214 may be allowed to rise, while the maximum
transmitters, transceivers, or other electronic circuits or           signal handling capability Smax 212 may be reduced. When
systems.                                                              this is done, the receiver circuit may save significant power.
   When a receiver is actively receiving a desired signal,       20   For example, the circuit's impedances may be increased,
each block in the signal path has at its input the desired            thus reducing required drive currents. Similarly, bias cur-
signal as well as noise and possibly interfering signals. The         rents may be lowered, thus reducing the maximum signal in
desired signal is the useful, information-carrying portion of         handling capability.
a received signal. The noise may be thermal, shot, or other               The minimum power dissipation for a circuit is propor-
noise generated on the integrated circuit, in addition to        25   tiona! to the required maximum signal-to-noise ratio, which
received noise generated by sources external to the chip. The         is the ratio between Smax 212 or 262 and N 214 or 264.
noise at the input of a block may be referred to as the               Thus, a circuit receiving an input similar to the one shown
equivalent input noise. The interfering signal or signals, or         in FIG. 2A can dissipate less power than one receiving the
interferers, may be generated by similar transceivers, or             input as shown in FIG. 2B, while still achieving an accept-
other electrical equipment, circuits, or systems.                30   able bit-error rate.
   FIGS. 2A and 2B illustrate examples of desired signals,                FIG. 3 illustrates what can occur when the maximum
interferers, and noise that may be received by one of the             signal handling capability Smax 314 is reduced in the
various circuits in a wireless receiver. In each of these             worst-case condition, that is when a weak desired signal 306
figures, the signal strength is plotted along a Y-axis 204 or         is accompanied by large interferers 310 and 312. Again,
254 as a function of frequency along an X-axis 202 or 252.       35   signal strength is plotted along a Y-axis 304 as a function of
In the example of FIG. 2A, a received desired signal 206 is           frequency along X-axis 302. In this specific example, Smax
large in comparison to interfering signals 208 and 210. In            314 is reduced below the peak levels of the interferers 310
these examples, two interfering signals are shown for illus-          and 312. Since Smax is low, the circuit cannot handle the
trative purposes, though there may be no such signals, one            interferers linearly. The resulting nonlinearities lead to a
such signal, or more than two such signals in the frequency      40   mixing of the interferers and the creation of intermodulation
range of interest. Also, while for these examples the inter-          products 308 (for example, a third-order intermodulation
ferers are shown as being at a higher frequency than the              distortion, IM3), one of which in this example occurs at the
desired signal, there may be one or more interferers at higher        same frequency as the desired signal 306. As can be seen, if
or lower frequencies as the desired signal. In this specific          the intermodulation products 308 become excessive, the
example, the acceptable noise floor 214 is relatively high,      45   received signal bit error rate may become excessive, and the
while maximum signal handling capability Smax 212 (that               desired signal 306 may be lost. Accordingly, while Smax
is the maximum signal power that can be handled with an               may be lowered even under some unfavorable conditions in
acceptably low distortion) needs only to be high enough to            order to reduce power, care should be taken to avoid
accommodate the desired signal. For this specific example,            corruption of the received desired signal.
the circuit receiving this input spectrum only requires a        50       FIG. 4 illustrates a portion of a receiver consistent with an
relatively small dynamic range for proper operation, that is          embodiment of the present invention. Included is a filter
the range between Smax 212 and the noise floor 214 is                 430. An optional gain element 420 is placed in front of the
relatively small.                                                     filter 430 in order to increase signal levels. Signal strength
   Conversely, in the example shown in FIG. 2B, the desired           indicator circuits 440 and 450 are connected to input line
signal 256 is relatively weak compared to the large inter-       55   410 and output line 460. In this specific example, the input
ferers 258 and 260. In this example, the noise floor 264              signal spectrum on line 410 is shown as desired signal 412
should be relatively low so as to prevent an unacceptable             and interferers 414 and 416. The signal spectrum at the
level of error in the recovery the desired signal 256. The            output line 460 is shown as desired signal 462 and interferers
maximum signal handling capability Smax 262 should be                 464 and 466. The signal strength indicators 440 and 450 do
relatively high to accommodate the large interferers in order    60   not provide information as to the relative sizes of the desired
to avoid the creation of intermodulation products as                  and interfering signals. Rather, a cumulative signal level is
described below. Accordingly, in this specific example, the           provided at their outputs. For example, the first signal
circuit receiving this input spectrum should have a large             strength indicator 440 outputs a level corresponding to the
dynamic range, particularly in comparison to the example of           sum of desired signal 412 and interfering signals 414 and
FIG. 2A.                                                         65   416, while the second signal strength indicator 450 provides
   It should be noted that the noise level or noise floors            a signal level corresponding to the sum of desired signal 462
shown in these and the other included figures is the noise            and interfering signals 464 and 466. In this specific example,
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the gain of the gain and filter circuit combinations is shown       source can be reduced. Many other examples where drive
as approximately one, while the interfering signals 414 and         currents and possibly bias currents may be reduced will be
416 signal levels are reduced.                                      appreciated by one skilled in the art.
    A comparison of the signal levels provided by the signal           FIG. 7 illustrates another degree of freedom that made be
strength indicators 440 and 450 indicates that much of the          employed to reduce current levels in a transceiver. Specifi-
combined received signal on line 410 has been filtered.             cally, a gain element 720 may be inserted in front of a circuit
Accordingly, it may be deduced that large interfering signals       block 730 in order to improve the combined circuit's signal-
present at the input are being filtered by the filter 430. From     to-noise ratio by a factor equal to the gain of the inserted
this information, as will be shown in greater detail below, the     gain block. This is particularly useful when large interferers
bias, impedance, and gain of the gain stage 420 and filter 430 10 are absent and the desired received signal is moderate or low.
combination may be optimized to reduce power dissipation.           Specifically, gain is added to the signal while impedances
    There are several real world situations where the received      are increased, which raise the noise floor. In this way, a given
signal is better than the worst-case condition such that power      signal-to-noise ratio may be maintained while the power is
can be saved. For example, large interferers may be present         decreased.
only part of the time, that is, on a temporary or transient 15         The gain of such an element may be varied by increasing
basis. The interfering equipment may be some distance from          a current in a differential pair or increasing a load resistance
the transceiver, or it may be operating in the low power            using switches. Many other examples where the gain of this
mode. Also, the desired signal may be very strong as                element may be varied will be appreciated by one skilled in
compared to the noise and interferers, for example a hub,           the art.
router, or access point may be nearby.                           20    These variables, or degrees of freedom, specifically
    Some transceivers consistent with embodiments of the            reducing bias currents, increasing impedances, and increas-
present invention are designed to work with more than one           ing gain may be used as in the following examples.
data transfer specification or standard. In this case, when a          FIG. SA is a block diagram of a functional block S20 and
transceiver is operating in a mode having a lower data rate,        optional gain element S10 in accordance with an embodi-
the power saving techniques described here may be 25 ment of the present invention. Functional block S20, like the
employed.                                                           functional blocks in the following diagrams, may be a filter,
    FIG. 5 illustrates the relationship between a required          mixer, amplifier, or other circuit or circuits in a wireless
biased current 516 for a given output signal 514 for a              transceiver or other electronic circuits or system. An input
representative circuit 510. If the output signal current level      signal is received on line S12 by the optional gain element
is relatively low, such as the output current shown as 526, 30 S14. When the optional gain block S10 is not used, the input
the corresponding bias current 52S may be low. Conversely,          signal may be received directly by the function block S20.
if the output signal current level is larger as with the example    The gain of the optional gain element S12 is controlled by
536, the corresponding bias current level 53S should also be        a gain control signal on line S14. The functional block
high. Accordingly, if a bias current is initially set high to       receives an output signal from the optional gain element S10
handle large a large input signal, for example a large 35 and provides an output VOUT on line S22. The lines in this
interferer, this current may be reduced if the input signal is      and the other included figures may be one or more lines,
smaller.                                                            depending on whether single-ended, differential, or other
    There are many ways by which these bias currents can be         type of signaling is employed.
reduced. For example, the current may be generated by                  One or more impedances are under control of signals on
placing a voltage across a resistor by applying a bias voltage 40 impedance control lines S24. Similarly, one or more bias
to the base of a device whose emitter is connected to ground        currents in the function block are under control of one or
through a resistance. In this case, the resistor may be             more signals on bias control lines S26. These various control
increased by opening switches across portions of the resis-         lines may be logic signals, analog signals, voltage or cur-
tance, or lowering the bias voltage applied at the base.            rents lines, or other signal or bias lines. In other embodi-
Several ways in which this may be done will be readily 45 ments of the present invention, the gain control element S10
understood by one skilled in the art.                               may be included in the function block S20. Also, various
    FIG. 6 is an example of how a circuit's impedances may          embodiments may not incorporate either or both the imped-
be scaled to reduce drive currents, and, depending on the           ance control and bias control.
circuit configuration used, associated bias currents as well.          FIG. SB is an example input that may be present on line
A driver 612 has a load R 614 and C 616. The frequency 50 YIN S12. In this example, a desired signal S36 is relatively
response of this circuit is the same as that seen by driver 622,    weak, as are interfering signals S37 and S3S. The initial bias
which drives an impedance of 2R 624 and C/2 626. But the            and circuit configuration is such that the noise floor S33 and
impedance of the load seen by driver 622 is double that seen        maximum signal handling capability Smax S31 are adjusted
by 612, thus the output current required by the driver 622 is       for worst case conditions. The circuit of FIG. SA, as with all
reduced by one-half.                                             55 the circuits described here, receives noise at its input which
    As an example, the output stage of each of these drivers        may be referred to as input equivalent noise or input referred
may be a Class A emitter follower formed by an emitter              noise. Additionally, the circuit of FIG. SA generates noise
follower connected to a current source. When the outputs are        which is added to the input referred noise. Depending on the
driven high, the emitter of driver 622 need supply only             gain characteristics of the circuitry, the output noise at
one-half the drive current as driver 612. In this way, an 60 various frequencies may be greater than, equal to, or less
impedance can be scaled in order to decrease a circuit's            than the input referred noise. For simplicity, the noise floor
required drive current.                                             and maximum signal handling capability Smax, in this and
    Also, the discharge current for driver 622 is only one half     the other figures, are shown as straight lines, though the
that of driver 612 for a given negative-going slew rate. Thus,      noise and Smax are typically curved as a function of
the current source of 622 may be reduced by the same factor 65 frequency.
of one-half as compared to driver 612. In this example, the            That the input spectrum is as shown in FIG. SB can be
bias current, that is the current in the pull-down current          determined, for example, by low signal strength indications
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on line YIN 812 and YOUT 822. That is, a low level signal              control the gain of gain control element 1010, while one or
strength indication on line YIN 812 indicates that no portion          more impedance and bias control signals are received by the
of the input signal is particularly large.                             function block 1020 on line to 1024 and 1026.
   For this exemplary input, there are at least two methods               FIG. lOB illustrates a received signal that may be received
by which the power dissipation for this circuitry may be               on line YIN 1012. In this example, the desired signall036
reduced. Depending on the exact circuits and structures                and interferers 1037 and 1038 are each relatively large. This
used, one of these methods may be preferred.                           may be determined, for example, by detecting a large signal
   In FIG. 8C, the bias current is decreased, thereby lowering         level at the input line YIN 812 and a smaller signal level
the maximum signal handling capability 841 as compared to              after a filter, since these readings would indicate that a large
831, closer to the desired and interfering signal levels.         10   signal is received, but that interferers are being reduced.
Again, the bias currents in the function block 820 may be                 As before, in this example, the noise floor 1033 and
reduced by switching impedances that appear across a                   maximum signal handling capability 1031 are initially set
voltage thereby changing a resulting bias current, by reduc-           for the worst case conditions. Since the desired signal is
ing a voltage at the gate of a MOS or base of a bipolar                relatively large in this case, the noise floor may be allowed
transistor, or by other methods.                                  15   to rise, a shown by noise floor 1043 in FIG. lOC. Since the
   In FIG. 8D, a second method of reducing power dissipa-              desired signal 1046 and interferers 1047 are large, the
tion in the function block 820 is employed. Specifically,              maximum signal handling capability Smax 1041 remains
Smax 851 is held constant as compared Smax 831. The                    constant. Again, the noise floor is increased by increasing
desired and interfering signals are amplified such that they           impedances in the function block 1020. This reduces the
are closer to the available signaling handling capability 851.    20   required drive current, and may also allow for a reduction in
Also, the noise floor 853 is raised as compared to noise floor         bias currents.
833 in FIG. 8B. Specifically, the noise contributed by the                FIG. 11A illustrates a block diagram including an optional
function block 820 is increased, such that the noise at its            gain element 1110 and function block 1120 in accordance
output is increased to noise floor 853. This is done by                with an embodiment of the present convention. An input
increasing one or more impedance in function block 810,           25   signal is received on line 1112 by the optional gain control
such that drive currents inside that block are reduced.                element 1110, while an output signal is provided by the
Depending on the exact configuration, this may also allow              function block 1120 on line YOUT 1122. Gain, impedance,
some biasing currents to be reduced, while maintaining the             and bias control signals are received on lines 1114, 1124, and
maximum signal handling capability 851 at a sufficient level.          1126.
Alternately, these two methods of reducing power dissipa-         30      FIG. 11B is an exemplary input signal that may be
tion in function block 820 may be done in combination.                 received by the gain control element 1110 on line YIN 1112.
   The included examples are explained for the exemplary               In this specific example, the desired signal1136 is relatively
situation where biasing and other parameters are set for               low or weak while the interfering signals 1137 and 1138 are
worst-case conditions, and then changed to save power                  large. This may be determined, for example, by detecting a
when it is discovered that the conditions are better-than-        35   large signal level at the input line YIN 812 and a much
worst case. Alternately, the bias currents and other param-            smaller signal level after a filter, since these readings would
eters may be set for maximum power savings, or an inter-               indicate that a large signal is received and that large inter-
mediate point, and the power can be adjusted from there.               ferers are being reduced such that the resulting signal, the
   FIG. 9A illustrates a block diagram including an optional           desired signal, is relatively weak.
gain element 910 and function block 920. Again, an input          40      Again, the maximum signal handling capability 1131 and
signal is received on line 912 by optional gain element 910            noise floor 1133 are initially set for worst case conditions. If
which in turn drives function block 920. The function block            the desired signal is sufficiently low, while the interferers are
provides an output YOUT on line 922, and receives imped-               sufficiently high, power savings may not be achievable over
ance and bias control signals on lines 924 and 926.                    the worst case settings, since this is in fact the worst case
   FIG. 9B shows the spectrum for what may be considered          45   condition. But, if the desired signal is somewhat larger than
a best-case received signal. Specifically, the desired signal          the worst case condition, then power may be saved in at least
936 is strong, while the interfering signals 937 and 938 are           two different ways.
relatively weak. This may be determined, for example, by                  For example, FIG. 11C shows the maximum signal han-
detecting a large signal level at the input line YIN 812 and           dling capability 1141 being lowered. In this case, the inter-
a large signal level after a filter, since these readings would   50   fering signals 1147 in 1148 began to clip and distort, thereby
indicate that a large signal is received, but that it is at the        creating intermodulation products 1145, which distort the
desired signal frequency.                                              desired signal 1146. So long as care is taken to not corrupt
   The maximum signaling capability 931 and noise floor                the desired signal1146 beyond an acceptable limit, typically
933 are shown as being set for the worst case conditions. In           measured by a bit-error rate, power may be reduced in this
this case, the noise floor 933 is lower than the maximum          55   way.
allowed for proper signal reception. Accordingly, one or                  Similarly, in FIG. 11D, the noise floor 1153 is raised
more impedance in the function block 920 may be increased,             somewhat, thereby saving power. Again, this may be done so
such that the noise floor 943 rises as shown in FIG. 9C. In            long as the noise floor is not sufficiently high that the system
this way one or more of the driving currents in the function           bit-error rate becomes unacceptable.
block 920 may be reduced. Similarly, since the drive current      60      FIG. 12 is a summary of the above four examples. The
is reduced, one or more bias current may also be reduced,              received signal strengths are shown in column 1210, while
depending on the exact circuit configuration.                          appropriate power saving responses are listed in column
   FIG. lOA illustrates a block diagram showing an optional            1220. Specifically, in row 1230, the desired signal and
gain element 1010 driving a function block 1020. An input              interferer signal strengths are both weak or small. In this
signal is received by the gain element 1010 on line 1012, and     65   case, proper responses include decreasing Smax, or increas-
an output is provided by function block 1020 on line YOUT              ing one or more circuit impedances while increasing the
1022. One or more gain control signals present on lines 1014           circuit gain. Depending on the exact circuit configuration,
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one of these options may be preferred over the other.                      The bias current in the mixers effect that block's noise
Alternately, they may be done in combination, or done in                figure and linearity. Care is taken in reducing power in this
combination with other power saving techniques. Also, in                block so as not to increase nonlinearities, particularly the
some specific embodiments, when both desired signal and                 third-order nonlinearity as measured by IP3, the third-order
interferer signal strengths are small, the gain may need to be          intercept point, beyond an acceptable limit.
increased while the impedance is maintained or not                         A key parameter of the VCO is phase noise, an increase
increased in order to keep the noise floor low.                         in which increases the sidebands on either side of the
   In row 1240, the desired signal strength is strong or large,         oscillation signal. During transmission, the phase noise
while the interfering signals are small. In this case, an               should be kept low to avoid interference with adjacent
appropriate response is to increase one or more of the circuit     10   channels and for preserving modulation information.
impedances. Again, depending on the exact circuit in ques-                 During reception however, if the conditions are better
tion, one or more of the bias currents may also be reduced.             than worst case, the phase noise requirement for the VCO is
   In row 1250, both the desired signals and interfering                relaxed, and power can be saved consistent with embodi-
signal strengths are large. Again, in this case an appropriate          ments of the present invention. The achievable phase noise
response is to increase one or more of the circuit imped-          15   power spectral density is approximately inversely propor-
ances.                                                                  tional to the bias current used. Thus, when low phase noise
   In row 1260, the received desired signal strength is weak            is not required during reception, bias current in the VCO can
or small, while the interfering signals are large. Since this is        be reduced.
the worst case situation for which the circuit is designed,                Most of the power savings in a transceiver in accordance
substantial power savings are difficult to achieve. However,       20   with embodiments of the present invention is achieved in the
again, if the received signal is above a minimum level                  receiver portion. Additional power may be saved in the
necessary for proper operation, some distortion of the inter-           transmitter section.
ferers or raising of the noise floor may be acceptable.                    FIG. 15 is a block diagram of a transmitter portion
   It should be noted that not all possible signal conditions           consistent with an embodiment of the present invention.
are listed here. For example, either the signal or interferer      25   Included is a signal path formed by gain stage 1510 and
may be of a relatively medium strength, or the interferer may           power amplifier 1520. The output power level is sensed by
be absent. Also, these terms are for exemplary purposes and             output level sensing circuit 1550, which in turn adjusts the
are not meant to convey specific signal conditions, but rather          biasing of the power amplifier 1520 through the power
are only qualitative. The proper response to a specific                 control circuit 1540. Additionally, a transmitter level control
condition depends on the embodiment of the present inven-          30   signal is received by power control circuits 1530 and 1540,
tion, the particular circuit topology, the requirements of the          which in tum control the biasing of gain stage 1510 and
signaling standard used, as well as other constraints.                  power amplifier 1520. Gain control circuit 1560 also adjusts
   FIG. 13 is an example shown how power may be saved as                the gain of gain stage 1510 and power amplifier 1520.
a function of time by employing one or more of these                    Additional circuitry that varies impedances in each of these
methods consistent with embodiments of the present inven-          35   circuits may also be included.
tion. Power is plotted along a Y-axis 1304 as a function of                Since the gain, impedance and biasing of these blocks are
time along X-axis 1302. Conventional worst case design                  being dynamically varied, care must be taken to not nega-
would fix power dissipation at line 1310. As can be seen,               tively affect the signal being processed. For example, spe-
dynamic power dissipation 1320 under the control of vari-               cific embodiments of the present invention perform some or
able gains, impedances, biasing, or combination thereof,           40   all of these variations during preamble. Also, as changes
allows for a lower average power 1330 as compared to the                occur, the circuits in some embodiments are limited such
power dissipated 1310 by the conventional design.                       that they may only adapt to an improvement in conditions
   FIG. 14 is a block diagram of a portion of a receiver                after frames are completed. If conditions worsen, the circuits
consistent with an embodiment of the present invention.                 may be allowed to change in order to save the data.
Included are low-noise amplifier 1410, mixer 1420, gain            45   Alternately, a system may be manually calibrated, for
stage 1430, filter 1440, AGC amplifier 1450, and VCO 1460.              example at set up, and when the network configuration is
Signal strength detection is done at the output of the low-             changed.
noise amplifier by signal strength indicator 1470, at the                  The above description of specific embodiments of the
output of the mixer by signal strength indicator 1472, and at           invention has been presented for the purposes of illustration
the output of the filter by signal strength indicator 1474. The    50   and description. It is not intended to be exhaustive or to limit
outputs of the signal strength indicator circuits are received          the invention to the precise form described, and many
by the computational circuit 1470, which in tum controls                modifications and variations are possible in light of the
gain and power control circuits 1480 and 1485. Power and                teaching above. The embodiments were chosen and
gain control circuits 1480 and 1485 control the gain, biasing,          described in order to best explain the principles of the
and impedance levels of the circuits in the receiver signal        55   invention and its practical applications to thereby enable
path. Also, the gain and power control circuits may control             others skilled in the art to best utilize the invention in various
the same parameters in the VCO 1460. This figure is greatly             embodiments and with various modifications as are suited to
simplified for purposes of explanation. For example, the                the particular use contemplated.
quadrature nature of the mixers and following circuits are                 What is claimed is:
not shown. Also, power-down and start-up circuits are not          60      1. A method for power dissipation reduction in a receiver
included.                                                               of a wireless transceiver of a battery powered portable
   The current level in the low-noise amplifier determines a            wireless device, and a corresponding improvement in a drain
multitude of parameters including voltage gain, linearity,              on battery life of the battery powered portable wireless
input impedance matching, and noise figure. When condi-                 device, the method comprising:
tions are better than worst-case, some of these parameters         65      receiving a wireless signal having a desired signal and an
may be relaxed while maintaining an acceptable bit-error                      interferer signal, by the wireless transceiver of the
rate, thus saving power.                                                      battery powered portable wireless device, the wireless
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   transceiver having a receiver signal path comprising a                     the wireless transceiver is reduced and the impedance
   plurality of circuits, wherein the plurality of circuits                   of the circuit in the receiver signal path of the wireless
    includes an amplifier, a filter, and a mixer, and wherein                 transceiver is reduced resulting in reduced current drain
   the wireless transceiver comprises a circuit for deter-                    when compared to the first current drain; and
   mining a signal strength of the interferer signal and a                 (iv) when the signal strength of the interferer signal is low
    signal strength of the desired signal at a first node in the              and the signal strength of the desired signal is high, the
   receiver signal path; and                                                  bias current of the circuit in the receiver signal path of
varying an impedance and a bias current of one or more                        the wireless transceiver is increased and the impedance
    of the plurality of circuits in the receiver signal path of               of the circuit in the receiver signal path of the wireless
   the wireless transceiver as the signal strength of the          10
                                                                              transceiver is increased, resulting in a reduction in
    interferer signal and the signal strength of the desired
                                                                              current drain compared to the first current drain.
    signal vary;
                                                                           2. The method of claim 1, wherein the circuit in the
wherein the bias current and the impedance of the circuit
    in the receiver signal path of the wireless transceiver             receiver signal path of the wireless transceiver whose
    are varied according to the following:                         15
                                                                        impedance is varied is the amplifier.
(i) when the signal strength of the interferer signal is high              3. The method of claim 1, wherein the circuit in the
    and the signal strength of the desired signal is low, the           receiver signal path of the wireless transceiver whose
   bias current of the circuit in the receiver signal path of           impedance is varied is the mixer.
   the wireless transceiver is increased and the impedance                 4. The method of claim 1, wherein the circuit in the
    of the circuit in the receiver signal path of the wireless     20
                                                                        receiver signal path of the receiver transceiver whose imped-
   transceiver is reduced, resulting in a first current drain;          ance is varied is the filter.
                                                                           5. The method of claim 1, wherein varying the impedance
(ii) when the signal strength of the interferer signal is high
    and the signal strength of the desired signal is high, the          of the circuit in the receiver signal path of the wireless
   bias current of the circuit in the receiver signal path of           transceiver is affected by switching in and out an impedance
   the wireless transceiver is increased while the imped-          25
                                                                        in series with a load of the circuit in the receiver signal path
    ance of the circuit in the receiver signal path of the              of the wireless transceiver.
                                                                           6. The method of claim 1, wherein varying the bias
   wireless transceiver is increased, resulting in a reduc-
   tion in current drain when compared to the first current             current of the circuit in the receiver signal path of the
    drain;                                                              wireless transceiver is affected by varying an impedance in
(iii) when the signal strength of the interferer signal is low     30
                                                                        a bias current path of the circuit in the receiver signal path
    and the signal strength of the desired signal is low, the           of the wireless transceiver.
   bias current of the circuit in the receiver signal path of                                  * * * * *
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                              UNITED STATES PATENT AND TRADEMARK OFFICE
                                   CERTIFICATE OF CORRECTION
PATENT NO.                  : 9,838,962 B2                                                                                       Page 1 of 1
APPLICATION NO.             : 15/080421
DATED                       :December 5, 2017
INVENTOR(S)                 : Yannis Tsividis

It is certified that error appears in the above-identified patent and that said Letters Patent is hereby corrected as shown below:



         In the Claims
         In Claim 1, at Column 14, Line 8, "increased" should be replaced with --decreased--.




                                                                                   Signed and Sealed this
                                                                             Thirty-first Day of December, 2019

                                                                                An"--"-..........-
                                                                                                      Andrei Iancu
                                                                               Director of the United States Patent and Trademark Office
